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                EXHIBIT 2
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                                                                               Page 1
                     UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA
                       SAN FRANCISCO DIVISION
         ______________________________
         Richard Kadrey, et al.,       )
         Individual and Representative )
         Plaintiffs,                   )      CASE NO.
                                       )      3:23-cv-03417-VC
                  -against-            )
                                       )
         Meta Platforms, Inc.,         )
             Defendant.                )
         ______________________________)
                     *** HIGHLY CONFIDENTIAL ***
                        ATTORNEYS' EYES ONLY
                     VIDEO-RECORDED DEPOSITION OF
                           MELANIE KAMBADUR

                                   Cooley, LLP
                                 55 Hudson Yards
                            New York, New York 10001

                                       09/17/2024
                                    9:07 a.m. (EDT)

                         REPORTED BY:          MONIQUE CABRERA

         ______________________________________________________
                        DIGITAL EVIDENCE GROUP
                     1730 M Street, NW, Suite 812
                        Washington, D.C. 20036
                            (202) 232-0646


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                                                                             Page 69
   1



   3                  A.        Yes.

   4                  Q.        Who was that person?

   5                  A.        Nikolay Bashlykov.

   6                  Q.        And he lives in London?

   7                  A.        I'm not actually sure where he

   8        lives.      He works from the London office.

   9



 11                   A.        No.




 15                             MR. WEINSTEIN:            Object to form.

 16                   A.        I don't recall.

 17         BY MR. YOUNG:




 21                             Would that be fair to say?

 22                   A.        I don't know if I would say it that.



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                                                                               Page 70
   1        We said he worked on pre-processing the data,

   2        that is fair to say.

   3                  Q.        What is pre-process -- processing?

   4        Excuse me.

   5                  A.        That means transforming the data

   6        with a series of steps that make it more suitable

   7        for training models.

   8                  Q.        Does that include removing -- strike

   9        that.

 10                             What kind of steps would be involved

 11         in pre-processing?

 12                   A.        Are you asking specifically for

 13         Llama models or more generally?

 14                   Q.        Yeah, for the whole Llama models.

 15                   A.        I don't know all the steps.                  But for

 16         example, we perform various types of

 17         de-duplication.           We tokenize the data, which

 18         means -- yeah, we tokenize the data.                         We chunk

 19         the data into spans of text.

 20                   Q.        Let's talk about de-duplication.                    So

 21         if the models -- if a model is trained or

 22         pre-trained on the same text over and over again,



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   1        CERTIFICATE OF SHORTHAND REPORTER NOTARY PUBLIC

   2                            I, Monique Cabrera, the officer

   3              before whom the foregoing deposition was

   4              taken, do hereby certify that the foregoing

   5              transcript is a true and correct record of

   6              the testimony given; that said testimony was

   7              taken by me stenographically and thereafter

   8              reduced to typewriting under my direction;

   9              and that I am neither counsel for, related

 10               to, nor employed by any of the parties to

 11               this case and have no interest, financial or

 12               otherwise, in its outcome.

 13                             IN WITNESS WHEREOF, I have hereunto

 14               set my hand this 17th day of September, 2024.

 15

 16

 17

 18         ______________________________

 19         MONIQUE CABRERA

 20         Notary Public in and for the State of New York

 21         County of Suffolk

            My Commission No.

 22         Expires:       06/12/2026



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